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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                    Bridgeport Division
  IN RE:
  JOHNNY RAY MOORE                                        : CHAPTER 13
         DEBTOR                                           : CASE NO. 19-51257

  JPMORGAN CHASE BANK, N.A.
      MOVANT

  v.

  JOHNNY RAY MOORE
      DEBTOR
      ROBERTA NAPOLOTANO
      TRUSTEE
      RESPONDENTS                                         : FEBRUARY 25, 2020

   OBJECTION TO DEBTOR’S MOTION FOR EVIDENTIARY HEARING PURSUANT TO
      THE FEDERAL RULES OF BANKRUPTCY PROCEDURE UNDER RULE 9014
   REGARDING CONTESTED MATTER PROCEEDINGS RELATING TO THE MOTION
                         FOR RELIEF FROM STAY

             JPMORGAN CHASE BANK, N.A. (“Chase“), a secured creditor in the above-

  captioned case on property located at 10 Rosemary Drive, Stratford, CT 06615 (the

  “Property”) by and through its undersigned counsel hereby files its objection to the

  Debtor’s Motion for Evidentiary Hearing Pursuant to the Federal Rules of Bankruptcy

  Procedure Under Rule 9014 Regarding Contested Matter Proceedings Relating to the

  Motion for Relief from Stay (“Motion”). In support of this request, Chase respectfully

  represents as follows:



        1.     On January 16, 2020, Chase filed its Motion for Relief from Stay, In Rem

               Order and Related Equitable Relief (ECF 72) (“In Rem Motion”).

        2.     On February 6, 2020, the Debtor filed his objection to Chase’s In Rem

               Motion where the Debtor again attempts to attack Chase’s standing.
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        3.   On February 20, 2020, Chase filed its Response to the Debtor’s Objection

             to Chase’s In Rem Motion (ECF 118) wherein Chase sets for the legal

             basis as to why Debtor’s argument that Chase has no standing fails as a

             matter of law.

        4.   The Debtor now comes before this court asking for an evidentiary hearing

             on Chase’s In Rem Motion when such request in not supported in law.

             The Debtor’s Motion requests an evidentiary hearing so that it can dispute

             the standing of Chase which again surrounds the same baseless

             arguments he made regarding the alleged Assignment of Mortgages that

             were recorded on the Connecticut Land Records. The Debtor further

             argues that the court cannot “arbitrarily remove MERS and MERSCORP

             Holdings, Inc. from receiving Notices when they have been named on the

             Debtor’s Matrix” of which argument makes no legal sense whatsoever.

        5.   Chase maintains that CT State Statute CGS 49-17 would prohibit this

             court from holding an evidentiary hearing on its In Rem Motion on an

             issue relating to an Assignment of Mortgage and there is no basis is law

             to hold an evidentiary hearing on any of the baseless arguments set forth

             in the Debtor’s Motion. This is nothing more than yet another attempt to

             clog the court’s docket with unnecessary dilatory pleadings all for the

             purpose of stalling the underlying foreclosure action. The fact holds true

             that the Debtor has not made one single post-petition payment during the

             pendency of this case nor did he do so during the pendency of his prior

             Chapter 13 case. .
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        6.   Chase maintains that this court is bound by the fact that 1) the Debtor has

             failed to make post-petition payments 2) the Debtor is over the debt limits

             to be in this Chapter 13 case 3) the Debtor has failed to present any

             viable confirmable case in this case or in his prior case 4) any issues

             relating to the Debtor’s dispute over Chase’s standing or any other issue

             is for the State court to handle, 5) the issue of Chase’s standing was

             already determined in the State court in favor of Chase.

        7.   Chase maintains that its standing was proven when 1) a Judgment of

             Strict Foreclosure entered in the first foreclosure action brought against

             the Debtor (cv-XX-XXXXXXX) wherein the court granted Chase as

             substituted Lender and subsequently entered a Judgment of Strict

             Foreclosure (see Exhibit A), and 2) when the Debtor subsequently

             voluntary executed a Loan Modification with Chase which Loan

             Modification is attached to his filed pleadings before this court, and 3)

             when the State court denied the Debtor’s Motion to Dismiss in the newest

             foreclosure action brought against the Debtor.
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        8.   Chase maintains that because there can be dispute over standing, there

             is no basis in law to hold an evidentiary hearing.



        Based upon the foregoing, Chase requests that the Debtor’s Motion be

  denied.


                                     JPMORGAN CHASE BANK, NATIONAL
                                     ASSOCIATION
                                     MOVANT

                                     By:__/s/ Linda J. St. Pierre
                                       LINDA J. ST. PIERRE
                                        McCalla Raymer Leibert Pierce LLC
                                        50 Weston Street
                                        Hartford, Connecticut 06120
                                        (860) 808-0606
                                        Federal Bar Number CT 22287
                                        ITS ATTORNEYS
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                   Bridgeport Division
 IN RE:
 JOHNNY RAY MOORE                                              : CHAPTER 13
        DEBTOR                                                 : CASE NO. 19-51257
                                                               : February 24, 2020

                                          CERTIFICATION

         I hereby certify that a copy of the foregoing was served upon all of the following
 parties, either by operation of the Court's electronic filing system or by postage prepaid first
 class mail, on this 24th day of February 2020.

                                                            U. S. Trustee
 Johnny Ray Moore                                           Office of the U.S. Trustee
 15 Sachem Drive                                            Giaimo Federal Building
 Shelton, CT 06484                                          150 Court Street, Room 302
 (Debtor)                                                   New Haven, CT 06510
                                                            (U.S. Trustee)
 Roberta Napolitano
 10 Columbus Boulevard
 6th Floor
 Hartford, CT 06106
 (Trustee)




  Dated: February 24, 2020                          By: /s/ Linda St. Pierre
                                                    Linda St. Pierre, Esq.
                                                    McCalla Raymer Leibert Pierce LLC
                                                    50 Weston Street
                                                    Hartford, CT 06120
